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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


In re: Lion Air Flight JT 610 Crash                   Lead Case: 1:18-cv-07686

                                                      Honorable Thomas M. Durkin

_____________________________________

 PLAINTIFFS’ JOINT MOTION REQUIRING BOEING TO FILE, OR ABANDON, ITS
     MOTION TO DISMISS FOR FORUM NON CONVENIENS PRIOR TO THE
   PLAINTIFFS RESPONDING TO THE MOTION TO SEQUENCE DISCOVERY

       The Plaintiffs jointly move this Court to require Boeing to file a motion to dismiss for

forum non conveniens, or abandon it, before the Plaintiffs must respond to Boeing’s Motion to

Sequence Discovery, D.E. 14. In support, the Plaintiffs state as follows:

      1.       After this Court set a briefing schedule on Boeing’s Motion to Sequence Discovery,

another Boeing 737 MAX crashed in Ethiopia, resulting in a worldwide grounding of the fleet.

Multiple probes have been launched in the United States, including by Congress, the DOT, the

DOJ, and the FBI. Even the President of the United States has weighed in on the 737 MAX crisis,

and encouraged Boeing to “FIX the Boeing 737 MAX[.]” In addition to the multiple suits before

this Court, suits have been filed in this District against Boeing in the Ethiopian Airlines crash and

by Boeing shareholders who allege that Boeing made misrepresentations concerning the 737

MAX. In light of these subsequent events and for the reasons below, the Plaintiffs request that

Boeing be ordered to file its forum non conveniens motion immediately or abandon it, and explain

why it is unwilling to defend the design of the 737 MAX in its home forum.

       2.      Lion Air Flight JT 610 crashed on October 29, 2018.

       3.      Over 50 lawsuits have been, or soon will be, consolidated before this Court

involving over 100 victims of the Lion Air crash.
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           4.   On December 27, 2018, Boeing filed its Motion to Sequence Discovery in which it

claims that the most “efficient and sound case management” is to limit discovery to the “forum

non conveniens issues” raised by Boeing in its “forthcoming forum non conveniens motion.” D.E.

14 at 6.

           5.   But forthcoming is not the same thing as filed. Boeing, which bears the burden of

establishing good cause to deviate from the default rules of discovery under Federal Rule of Civil

Procedure 26, has cited no authority holding that the families of the victims must commit to a

discovery plan in the abstract, before a defendant’s purportedly “dispositive” motion is filed,

before the Parties have participated in either a Rule 16 scheduling conference or a Rule 26(f)

discovery conference, and without seeing the motion to dismiss or in any other way being able to

identify the issues that presumably frame the discovery to be sequenced. Boeing, in short, is

demanding that the Plaintiffs blindly devise, or acquiesce to, a discovery plan to address issues

that only Boeing knows. Such an effort would neither be efficient nor fair to the Plaintiffs.

           6.   Indeed, even in many of the cases cited by Boeing where the doctrine of forum non

conveniens was invoked, the parties litigated the scope and timing of discovery after the

defendants had filed their motions to dismiss, and it was often the plaintiffs who needed discovery

to respond to the particular factual challenges asserted by the defendants. See, e.g., Textile USA,

Inc. v. Diageo N. Am., Inc., No. 15-24309-CIV, 2016 WL 11317301, at *1 (S.D. Fla. June 8, 2016)

(noting that the defendants’ motion to stay discovery was filed after the defendants had filed

motions to dismiss); Beebe v. Housatonic R.R. Co., No. 05-CV-0021, 2005 WL 1173974, at *3

(N.D.N.Y. May 12, 2005) (denying the defendant’s motion to dismiss with leave to renew the

motion following discovery); In re Bridgestone/Firestone, Inc. ATX, ATX II & Wilderness Tires

Prod. Liab. Litig.., 131 F. Supp. 2d 1027, 1029 (S.D. Ind. 2001) (noting that the defendants filed




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their motions to dismiss, that the parties then conferred on discovery and a briefing schedule, and

that, upon impasse, the plaintiffs filed a motion to set a discovery and briefing schedule).

       7.      Ordering Boeing to file its motion to dismiss before it may disrupt the ordinary

course of discovery serves another purpose: it wards against dilatory tactics and ensures that

Boeing files its motion to dismiss for forum non conveniens, as it must, “within a reasonable time

after the facts or circumstances which serve as the basis for the motion have developed and become

known or reasonably knowable to the defendant.” Shi v. New Mighty U.S. Tr., 918 F.3d 944, 948

(D.C. Cir. 2019) (collecting cases, including from the Seventh Circuit).

       8.      The crash of Lion Air Flight JT 620 occurred nearly six months ago. For months

Boeing has been on notice of the details of the flight, the identity of the Decedents, the Plaintiffs’

theories of liability, and the national and international investigations into the defects of the 737-8.

Boeing should not need more time to draft a variant of the same motion that it files in virtually

every foreign aviation crash.

       9.      Counsel for some of the Plaintiffs, acting on behalf of all the Plaintiffs’ counsel,

conferred with counsel for Boeing and was informed that Boeing objects to the Plaintiffs’ joint

motion and the relief requested herein.

       WHEREFORE, the Plaintiffs respectfully request that this Court enter an order requiring

Boeing to file a motion to dismiss for forum non conveniens, or abandon it, before the Plaintiffs

must respond to Boeing’s Motion to Sequence Discovery, D.E. 14, and providing any other such

relief the Court deems just.




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Dated: April 24, 2019                       Respectfully submitted,

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                                         Case No. 19 cv 01623
                                         Case No. 19 cv 01624
                                         Case No. 19 cv 01625
                                         Case No. 19 cv 01626
                                         Case No. 19 cv 01695
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                                CERTIFICATE OF SERVICE


      Steven C. Marks, an attorney, certifies that he served the Plaintiffs’ Joint Motion to Require
Boeing to File its Motion to Dismiss for Forum Non Conveniens upon all counsel of record via
CM/ECF on April 24, 2019.


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